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                             UNITED STATES DISTRICT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                                           )
v.                                         )       Case No. 21-cr-00035-EGS
                                           )
RONALD COLTON McABEE,                      )
                                           )
       Defendant.                          )



                      DEFENDANT’S NOTICE OF NO OPPOSITION

       NOW COMES, Defendant, Ronald Colt McAbee, by and through his undersigned

counsel to file this Notice of No Opposition to the Government’s Motion to Extend Deadline to

File Response filed on May 19, 2022. See EFC. NO. 192




Dated: May 19, 2022                        Respectfully submitted,

                                           /s/ William L. Shipley
                                           William L. Shipley, Jr., Esq.
                                           PO BOX 745
                                           Kailua, Hawaii 96734
                                           Tel: (808) 228-1341
                                           Email: 808Shipleylaw@gmail.com
                                           Attorney for Defendant




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                               CERTIFICATE OF SERVICE

       I, William L. Shipley, hereby certify that on this day, May 19, 2022, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.




                                            /s/ William L. Shipley
                                            William L. Shipley, Jr., Esq.




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